IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

ALISON SCHULTZ, individually, and on behalf,
of all others similarly situated

V. : CIVIL ACTION NO. 5:23-cv-00030

PLANET AUTOMOTIVE GROUP, LLC

CONFIDENTIALITY AGREEMENT BETWEEN PARTIES AND
NON-PARTY HELM TECHNOLOGIES, LLC d/b/a CHATTERSPOT

The parties to this litigation, Alison Schultz, individually, and on behalf of all others
similarly situated (“Schultz”), and Planet Automotive Group, LLC (“Planet Automotive”), by and
through their undersigned counsel, agree to the terms of the following Confidentiality Agreement
for the purpose of Helm Technologies, LLC d/b/a Chatterspot (“Chatterspot”) producing
documents and things pursuant to Schultz’s subpoena:

1. This Confidentiality Agreement shall govern the use, handling and disclosure of all
documents, materials, information, data, testimony or information produced or given by
Chatterspot in this action which are designated as confidential.

2. Chatterspot may designate any confidential materials and the information contained
therein as “Confidential” or “Confidential — Attorneys’ Eyes Only” if Chatterspot believes in good
faith that there is a risk of identifiable harm to Chatterspot, its customers, business partners or any
other person or entity, if those confidential materials and the information contained therein are
disclosed to other parties or non-parties to this action. If Chatterspot inadvertently fails to mark a

document or any other material confidential, Chatterspot shall so notify the receiving party and

1
272701 105.v1

Case 5:23-cv-00030-KDB-SCR Document 23 Filed 08/10/23 Page 1 of 7
the latter shall return such document to Chatterspot who shall mark the document or thing and re-
produce it to the receiving party.

3. All Confidential Information produced by Chatterspot pursuant to subpoena shall
be used by the parties solely for the purpose of this litigation.

4. Except with the prior written consent of Chatterspot, or pursuant to prior Order after
notice, any document, transcript, data, materials or other things given “Confidential” or
Confidential- Attorneys’ Eyes Only treatment under this Confidential Agreement, and any
information contained in or derived from any such materials (including but not limited to, all
deposition testimony that refers to, reflects or otherwise discusses any information designated
“Confidential” hereunder) may not be disclosed other than in accordance with this Confidentiality
Agreement and may not be disclosed to any person other than the “Qualified Recipients” as
specified below:

a. The Parties, including any members, officers, board members, directors,

employees, or other legal representatives of the parties if reasonably
necessary for the purpose of this litigation;

b. Legal counsel representing the Parties, and members of the paralegal,
secretarial, or clerical staff who are employed by, retained by, or assisting
such counsel;

€. Any mediator or arbitrator retained by the parties to assist with resolving
and/or settling the claims of this Action and members of the arbitrator’s or
mediator’s staff and assistants;

d. Court reporters for depositions taken in this Action, including persons
operating video recording equipment and persons preparing transcripts of
testimony;

e. The Court and its staff, any court reporter or typist recording or transcribing

hearings and testimony, and jurors.

f. Any such person or entity where disclosure is reasonably necessary for the
purpose of preparing this action for litigation, and after he, she or they
agrees to be bound by the terms of this Confidentiality Agreement, and signs
the “Declaration of Compliance” attached hereto as Exhibit A. Disclosure

2
272701 105.v1

Case 5:23-cv-00030-KDB-SCR Document 23 Filed 08/10/23 Page 2 of 7
may be reasonably necessary and execution of the “Declaration of
Compliance” is required for such persons or entities as follows: (i) any non-
expert witness during any deposition or other proceeding in this Action, and
counsel for that witness, provided that persons may only be shown copies
of confidential information and may not retain any such material; and (11)
consulting or testifying expert witnesses who will be providing professional
opinions or assistance for this Action based upon a review of the
confidential information, and the staff and assistants employed by the
consulting or testifying experts.

As a condition to receiving any confidential information, each person agrees to be bound
by the terms of this Confidentiality Agreement.

5. For any person or entity required to sign the “Declaration of Compliance” attached
hereto as Exhibit A, it shall be executed and promptly provided to counsel for Chatterspot.

6. Nothing shall prevent disclosure beyond the terms of this Confidentiality
Agreement if Chatterspot consents in writing to such disclosure, or if the Court, after notice to all
affected parties and Chatterspot, orders such disclosure.

7. In designating information as confidential, Chatterspot will make such designation
only as to that information that it in good faith believes to be confidential. A party shall not be
obligated to challenge the propriety of a confidentiality designation at the time made, and a failure
to do so shall not preclude a subsequent challenge made to such confidentiality designation. In the
event that any party to this litigation disagrees at any stage of these proceedings with the
designation by the supplying party of any information as confidential, the parties to this
Confidentiality Agreement shall first try to resolve such dispute in good faith on an informal basis.
If the dispute cannot be resolved, the objecting party may seek appropriate relief from the Court
in the United States District Court for the Western District of North Carolina. Nothing shall be
regarded as confidential information if it is information that:

(a) is in the public domain at the time of disclosure;

(b) becomes part of the public domain, through no fault of the other party; or

3
272701 105.v1

Case 5:23-cv-00030-KDB-SCR Document 23 Filed 08/10/23 Page 3 of 7
(c) the receiving party can show was in its possession at the time of disclosure.

8. To the extent any motions, briefs, pleadings, deposition transcripts, or other papers
to be filed with the Court incorporate documents or information subject to this Confidentiality
Agreement, the party filing such papers shall designate such materials, or portions thereof, as
“Confidential,” or “Confidential — Attorneys’ Eyes Only” and shall file them with the clerk under
seal; provided, however, that a copy of such filing having the confidential information deleted
therefrom may be made part of the public record.

9. If counsel for any of the parties believe it is necessary to share a document with
someone other than a person who is permitted to review the document under the foregoing
provisions, counsel should direct a request for such disclosure to Chatterspot’s counsel. No such
departures from this Confidentiality Agreement will be authorized absent a written consent from
counsel for Chatterspot or an order of Court.

10. | Within 30 days after the conclusion of this litigation, all originals and reproductions
of any documents or things produced by Chatterspot subject to a confidential designation shall be
returned to Chatterspot, or, in the case of copies bearing attorneys’ notes or the like, shall be
destroyed. Insofar as the provisions of this Confidentiality Agreement or any protective order
entered in this action restrict the communication and use of the documents produced thereunder,
such Confidentiality Agreement and orders shall continue to be binding after the conclusion of this

litigation.

[SIGNATURE PAGE FOLLOWS]

4
272701105.v1

Case 5:23-cv-00030-KDB-SCR Document 23 Filed 08/10/23 Page 4 of 7
SHAPIRO LAW OFFICE, PLLC BUTSCH ROBERTS & ASSOCIATES LLC

ga

Craig Shapire Christopher E. Roberts. Esq.
Auorney far Plaiitifis Auorney jor Planitifis
HULL & CHANDLER, P.A. CLARK HILL PLC
i {' fo } ’
\ | re , /
Shy | fh HAA AMAA __
AVS eu. |
tik = fein . es
Liz Vennum, Esq. jpn Needleman. Esq.
auorney for Planet Automotive Morney jor Helm Technologies. LLC d bea
Group, LLCO Chatterspot

EXHIBIT A
DECLARATION OF COMPLIANCE
. declare as follows:
|. My address is _

2. My present employer is

3. My present occupation or job description is
PP OLS

Case 5:23-cv-00030-KDB-SCR Document 23 Filed 08/10/23 Page 5 of 7
4. Ihave received a copy of the Confidentiality Agreement agreed upon in this action on

, 20)

5. Ihave carefully read and understand the provisions of this Confidentiality Agreement.

6. I will comply with all provisions of this Confidentiality Agreement.

7. I will hold in confidence, and will not disclose to anyone not qualified under the
Confidentiality Agreement, any information, documents or other materials produced
subject to this Confidentiality Agreement.

8. I will use such information, documents or other materials produced subject to this
Confidentiality Agreement only for purposes of this present action.

9. Upon termination of this action, or upon request, I will return and deliver all
information, documents or other materials produced subject to this Confidentiality
Agreement, and all documents or things which I have prepared relating to the
information, documents or other materials that are subject to the Confidentiality
Agreement, to my counsel in this action, or to counsel for the party by whom I am
employed or retained or from whom I received the documents.

10. [hereby submit to the jurisdiction of this Court for the purposes of enforcing the

Confidentiality Agreement in this action.

I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.

Executed this day of ,20_,at

QUALIFIED PERSON

272701105.v1
Case 5:23-cv-00030-KDB-SCR Document 23 Filed 08/10/23 Page 6 of 7
7
272701105.v1

Case 5:23-cv-00030-KDB-SCR Document 23 Filed 08/10/23 Page 7 of 7
